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UN[TED- STA'?ES' BANKRUPTCY COURT
SGUTHERN BiS-TRECT OF TEXAS
lViCAl_l_Ei\i DlVlSlON

|N RE: CASE NO: 18-70326
iViaria E Perez

Uniform Pian and
Niotion for Valuation of Coilaterai

AMENDED 1/24/2019
CHAF’TER 13 PLAN

Date of Pian: 1/24!2019
[Date i\/iust be Date that This Pian is Signed by Debtor(s)]

1. Statement of inclusion of Specif'lc Provisions. The Debtor(s) propose this Pian pursuant to 11 U.S.C. § 1321. The Debtor(s)
disclose Whether this Pian includes certain provisions by checking the appropriate box:

 

 

 

 

 

Description of Provision included Not included

A. A “non-standar " provision contained in Paragraph 29. |:| |I

B. A provision limiting the amount of a secured claim based on a valuation of the |Z[ |:|
collateral for the claim in Paragraph 1'| or 14.

C. A provision avoiding a security interest or a lien in Paragraph S(C). ij |Z[

D. A provision avoiding a security interest or lien in exempt property in Paragraph 15. ij g

 

 

 

 

2. Summary Attached. Attached as Exhibit "A" is a summary of the payments to the Chapter 13 Trustee (“Trustee“) and the
estimated disbursements to be made by the Trustee under this Pian.

3. Niotion for Valuation of Secured Claims. if indicated in Paragraph ‘iB of this Pian, the Debtor(s) move to establish the value
of the collateral securing claims in the amount set forth in Paragraphs 11 and 14. The Debtor(s) propose to pay the holder of the
Secured Ciaim only the amounts set forth in the Deiqtor(s)' P[an. The Court will conduct an evidentiary hearing on this
contested matter on the date set for the hearing on confirmation of the Debtor(s)‘ Pian. You must file a response in writing
not less than 7 days (inciuding weekends and hoiidays) before the hearing on confirmation of the Pian or the valuation set
forth in the Pian may be adopted by the Court. if no timely response is filed, the Debtor(s)' sworn declaration at the
conclusion of this Pian will be considered as summary evidence at the confirmation hearing.

4. Payments. The Debtor(s) must submit ali or such portion of their future earnings and other future income to the supervision
and control of the Trustee as is necessary for the execution of the Pian. The applicable commitment period under Debtor(s)'
means test is 36 months (use "unavaiiab|e" ita means test has not been filed). 't’he amount frequency, and

duration of future payments to the Trustee are:

 

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Debtorr;sj: i'viaria ii Perez Case 5'\€0: '13-75326
Beginning Ending Totai lillonthiy Totai i\llonthly Totai
Nlonth* lVionth Arnount of Savings Forecast Avaiiable Available
Nionthiy Fund Savings for for
Payment** Deposit Fund Creditors Creditors
Deposits and and
Reserve Reserve
Funds*** Funds
'i (Sep 2018) 3 (Nov 2018) $1,208.00 $0.00 $0.00 $1,208.00 $3,624.00
' 4 (Dec 2018) 5 (Jan 2019) $1,490,00 $0.00 $0.00 $1,490.00 $2,980.00
6 (Feb 2019) 60 (Aug 2023) $1,515.00 $0.00 $0.00 $1,515.00 583,325.00
- Totai: $0.00 $89,929.00

 

 

 

 

 

 

 

 

 

 

 

* This is the month in which the first payment is due for this amount The Debtor(s) must commence payments not later than 30 days after the

petition date.

** The total amount of monthly payment includes savings and reserves

*** Reserve funds are funds established under Paragraph 23 of this Pian.

A. if the payments to be made by the Tmstee pursuant to Paragraphs B(A)(ii) or 11(D) are adjusted in accordance with the
i-iome i\/|ortgage Payment Procedures defined and adopted pursuant to Bankruptcy Local Rule 3015-1(b} (whether on
account cfa change in any escrow requirement1 a change in the applicable interest rate under an adjustable rate mortgage,
or otherwise) cr in accordance with the procedures set forth in Paragraphs ZO(E) or 23(B), the payments to the Trustee

under this Pian Will be modified as follows:

(i) The Debtor(s)' payments required by Paragraph 4 cf this Pian will be automaticaiiy increased or decreased by (i) the
amount of the increase or decrease in the Paragraph B(A){ii), 11(D), 2()(E) or 23(B) payments; and (ii) the amount of
the increase or decrease in the Posted Chapter 13 Trustee Fee that is caused by the change

(ii) The Posted Chapter 13 Trustee Fee is the percentage fee established by the Court and posted on the Court's web

site from time to time

**$rir

**** The Posted Chapter 13 Trustee Fee does not alter the amount of the actual trustee fee established under 28 U.S.C. § 586(e)(1).

(iii) if a change pursuant to Paragraph 4(C), S(A){ii), 11 (D), 20{E) or 23(B) is made and the monthly payment adjustment
multiplied by the number of remaining months in the Pian is less than $10{), the payment adjustments required by

Paragraph 4(A) will not be made.

Bo if a Notlce of Pian Payment Adjustment is required by Paragraph B(A)(iii), the Debtor(s)' payments required by Paragraph 4

of this Pian wiii be automatically increased by the amount of the adjustment

C. Subject to an Order to the contrary, if the on-going monthly mortgage payment referenced in a timely filed proof of claim
differs from the on-going monthly mortgage payment scheduled in this Pianl the Trustee shall adjust the plan payment in
order to reflect the on-going monthly mortgage payment amount provided for in the proof of ciaim.

D. if a secured or priority proof of claim is not timely tiied, the amounts scheduled in this Pian will govern. if a secured or
priority proof of claim is timely filed after confirmation cf this Pian, the amounts shown on the timely filed proof of claim will
govern. The procedures in Paragraph 4(C) govern monthly mortgage payment amountsl

E. in the event of a change in the monthly payment to the Trustee under this Pian, the Trustee is directed to submit an
amended wage withholding order or to amend any automated bank draft procedure to satsify the automatic increase or
decrease The Debtor(s) must implement any appropriate amendments to any other form of payment.

F. Nothing in this Paragraph 4 precludes the Trustee from seeking to dismiss a case based on a timely iiied proof of claim
that renders this Pian deficient

 

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Debtorisi: ii\fraria E Perez Case i\io: 18-7932=5

 

5. Priority C|aims for Domestic Support Obiigations. From the payments made by the Debtor(s) to the Trustee, the Trustee
shall pay in full ali ciaims entitled to priority under 11 U.S.C. § 507(a)(1). if a timely proof of claim is tited, the actuai amount of
the Domestic Support Ob|igation will be determined through the claims allowance process Otherwise, the amount scheduled

in this Pian will controi:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Narne of Hoider C|airn interest Amount of First Last Totai
of Domestic Support Rate Estimated Payment Payment
Obiigation Under Periodic of this of this
Pian Payment Amount Amount
in Nio. # in Nlo. #
6. Priority C|aims (Other than Domestic Support Obligations.)
From the payments made by the Debtor(s) to the Trustee, the Trustee shali pay in full ali claims entitled to priority under
11 U.S.C. §§ 507(a)(2) through 507(a)(10). if a timely proof of claim is flied, the actual amount of the Priority Claim will be
determined through the ciaims allowance process. Otherwise, the amount scheduled in this Pian will control:
A.
Name of Hoider Amount of interest Amount First Last Totai
of Priority C|airn Priority Rate of Payment Payment
C|airn Under Periodic of this of this
Pian Payment Amount Amount
in Mo. # in liiio. #
Wiiliam A. Csabi, P.C. $4,175.00 0.00% Pro-Rata 1 60 $4,175.00

B. Priority C|aims arising under 11 U.S.C. § 503(h)(2) shall be paid only after entry of an order by the Bankruptcy Court
approving payment of the ciaim. if this case is dismissed, no Priority C|aim arising under 11 U.S.C. § 503(b)(2} shall be
allowed unless an application for allowance is fried on or before 21 days after entry of the order of dismissai, and such

application is subsequently granted by the Court.

7. Secured C|aims for which Coiiateral is Surrendered. The Debtor(s) surrender the following collateral under this Pian:

 

 

 

Name of Creditor Description of Coiiaterai

 

 

Santander Consumer Usa 2014 GMC Sierra

A. Upon confirmation of this Pian, the Debtor(s) surrender the collateral and the automatic stay under 11 U.S.C. § 362(a) is
terminated as to actions against any (i) collateral that is described in the preceding tab|e; and (ii) escrow deposit held by the
holder of a security interest to secure payment of taxes and insurance The automatic stay is not terminated under this
Paragraph as to any other action. The co~debtor stay under 11 U.S.C. § 1301(a) is terminated with respect to the collateral

identified in the preceding tabie.

B. Other than terminating the co-debtor stay, this Pian does not affect any co-debtor's rights in the coliateral or the obligation of
' any secured creditor to act with respect to such a co-debtor in compliance With applicable non-bankruptcy iaw.

C. The Debtor(s) and the creditor asserting a security interest against the collateral must comply with Bankruptcy Locai Ru|e
6007-1 with respect to the surrender of the coilateral.

D. The rights of a secured creditor to a deficiency claim will be determined (i) in accordance with the creditors allowed
unsecured claim in any timely filed proof of ciaim; or (ii) by separate Court order.

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18-7032@

Debtor(s`i: tifiaria E 'Perez

Case l\lo:

 

8. Secured C|aim for C|aim Secured Only by a Security interest in Real Property that is the Debtor(s)' Principal Residence
(Property to be Retained). For each such claim, utilize either A, B, or C, beiow:

|Z[ A. This table sets forth the treatment of certain classes of secured creditors holding a claim secured only by a security

interest in reai property that is the Debtor(s)' principai residence located at

2018 Prop Taxes 2101 Tu|ipan Ave liiiission, TX

78572

 

Narne of Hoider of
Securecl Claimi'
Security for C|aim

Cialms

Pian
interest
Rate

Nlonthly
Payment
Amount

 

P&l

Escrow

Totai

Start.
Month
#

End.
Nionth
#

Totai

 

City of Mission

2018 Prop Taxes 2101 Tu|ipan Ave liliission, TX 78572

 

Cure Claim*

 

Rule 3002.“§(c) Amount

 

lV|onthly l\/ltg. Payment**

 

Totai Debt C|aim

$360.57

12.00%

Pro-Rata

Pro-Rata

60

$490.99

 

 

Hidalgo County Taxes

2018 Prop Taxes 2101 Tullpan Ave lillission, TX 7857

 

Cure Claim*

 

Rule 3002.1(c) Amount

 

lVlonttiiy iVltg. Payment**

 

Totai Debt C|aim

$669.15

12.00%

Pro-Rata

Pro-Rata

60

$911.16

 

 

2101 Tu|ipan Ave Nlission, TX 78572

JNl LOAN MANAGEMENT SERVICES, LLC

 

Cure Ciaim*

$4,564.40

0.00%

P ro-Rata

Pro-Rata

60

$4,564.40

 

Rule 3002.i(c) Amount

 

Nlonthiy lVltg. Payment**

$50,750.00

0.00%

$672.25
$672.25

$93.60
$234.00

$765.85
$906.25

60

$3,063.40
$50,750.00

 

Totai Debt C|aim

 

 

 

La Joya independent Schooi District

2018 Prop Taxes 2101 Tuiipan Ave Mission, TX 78572

 

Cure Claim*

 

Rule 3002.1(c) Amount

 

l\/ionthly Nltg. Payment**

 

 

 

 

Totai Debt C|aim

$644.49

 

12.00°/0

 

Pro-Rata

 

 

Pro-Rata

 

‘l

 

60

 

$877.57

 

* in this Pian, a "Cure Claim" is the amount required to cure any existing default A "Total Debt Claim" is a claim thatwill be fully paid during the
term of the proposed Pian. As to each claim secured by a security interest the Debtor(s) must propose either (i) a Cure C|aim and a monthly
mortgage payment; or (ii) a Totai Debt Claim; or (iii) in cases in which there is no Cure Claim, a l\flonthly l\/lortgage Payment The amount shown as

"Cure Claim" should be equal to the total of all amounts required to cure the mortgage

** including principal, interest and escrow.

(i) Payment of these amounts wilt constitute a cure of all defaults (existing as of the petition date) of the Debtor(s)'

obligations to the holder of the secured claim.

(ii) A claim secured only by a security interest in real property that is the Debtor(s)' principal residence (other than the

Cure C|aims or Totai Debt Claim set forth in the above table) will be paid in accordance with the pre-petition contract
The claim includes all amounts that arise post-petition and that are authorized pursuant to Fed. R. Bankr. P. 3002.1.
During the term of the Plan, these payments wili be made through the Trustee in accordance with the Home l\/lortgage
Payment Procedures adopted pursuant to Bankruptcy Local Rule 3015-1(b). Each holder of a claim that is paid
pursuant to this Paragraph must elect to either (i) apply the payments received by it to the next payment due Without
penalty under the terms of the holder's pre-petition note; or (ii) waive all late charges that accrue after the order for
relief in this case. Any holder that falls to file an affirmative election within 30 days of entry of the order confirming this
Pian has waived all late charges that accrue after the order for relief in this case. Notwithstanding the foregoing, the
holder may impose a late charge that accrues following an event of default of a payment due under Paragraph 4 of

this Pian.

Debtor(sj:

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ltfiaria E Perez Case i\io: tS-T"OBZG

 

(ii)

(iV)
(V)

Except as otherwise ordered by the Court, any amounts due as a result of the filing of a Rule 3002.‘i(c) Notice shall be
paid after payment of all other secured and priority claims but before payment of all general unsecured claims if the
payment of the amounts due under a Rule 3002.1(c) Notice would render the Pian deficient because of a shortfall of
available funds, the Trustee must file a Notice of Pian Payment Adjustment to provide sufhcient funds to pay all

secured and priority claims in fu|l.

Each claim secured by a security interest is designated to be in a separate class

The Debtor(s) must timely provide the information required by the Trustee pursuant to the i-lome i'\/iortgage Payment
Procedures

|:| B, The holder of the claim secured only by a security interest in real property that is the Debtor(s}‘ principal residence has
agreed to refinance the security interest and claim on the terms set forth on the document attached as Exhibit "B". The
refinancing brings the loan current in all respects The terms of the loan that is being rehnanced and the new loan are

described beiow:

 

Oid Loan New Loan

 

Current amount owed on old loan and total
amount borrowed on new loan

 

interest rate is fixed or variable?

 

interest rate (in %)

 

Ciosing costs paid by Debtor(s)

 

Monthly principal and interest payment

 

Monthiy required escrow deposit

 

 

Totai monthly payment of principal, interest
and escrow

 

 

 

(i)

(ii)

Upon confirmation of this Pian, the Debtor(s) are authorized to execute conforming documents with the holder of the
security interestl

Payments made to the above referenced holder will be paid (check one, ONLY if Debtor(s) have checked option B,
abovet

[___i Through the Trustee.

|:| Directiy to the holder of the ciaim, by the Debtor(sj. The holder of the claim may not impose any attorney‘s fees,
inspection costs, appraisal costs or any other charges (other than principal, interest and ad valorem tax and
property insurance escrows) if such charges arose (in whole or in part) during the period (i) when the case is
open; (ii) after the closing of the rehnanced loan; and (iii) prior to a modification of this Pian (i.e., following a
default by the Debtor(s) in payments to the holder of the claim) pursuant to which the Debtor(s) commence
payments through the Trustee to the holder of the claim secured solely by a security interest in the Debtor(s)'
principal residence. if the Debtor(s) default in direct payments following the refinancing1 a proposed modification

of this Pian must be filed.

 

Debtonfs`j:

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l`i.'iaria E Perez Case l\lo: 15-70326

 

j'_`| C. i'he following table sets forth the treatment of certain classes of secured creditors holding a claim secured only by a
security interest in real property that is the Debtor(s)' principal residence

 

Name of Hoider of Lien to which this
provision applies

 

Address of Principal Residence

 

Debtor(s}' Stated Value of Principal
Residence

 

Description of all Liens Senior in Estimated Amount
Priority (List Hoider and Priority) Owed on This Lien

 

 

 

 

 

 

 

 

 

 

 

 

Totai Owed--Ail Senior Liens

 

 

 

 

(ii)

iiii)

(iv)

The Debtor{s) allege that the total amount of debt secured by liens that are senior in priority to the lien held by
exceeds the total value of the principal residence Accordingly, the

claim will receive (i) no distributions as a secured claim; and (ii) distributions as an unsecured claim only in
accordance with applicable law,

Upon the Debtor(s)1 completion of all payments set forth in this Pian, the holder of the lien is required to execute and
record a full and unequivocal release of its liens, encumbrances and security interests secured by the principal
residence and to provide a copy of the release to the Debtor(s) and their counsel. Notwithstanding the foregoing, the
holder of a lien that secures post-petition homeownersl association fees and assessments will be allowed to retain

its lien, but only to secure (i) post-petition assessments; and (ii) other post-petition amounts, such as legal fees, if
such other post-petition amounts are (a) incurred with respect to post-petition fees and assessments and (b)
approved by the Court, if incurred during the pendency of the bankruptcy case

 

This Paragraph 80 will only be effective if the Debtor(s) perform each of the following:

(a) lVlail a "Lien Stripping Notice," in the form set foith on the Court's website, to the holder of the lien that is governed
by this Paragraph BC. The l_ien Stripping Notice must be mailed in a separate envelope from any other
document Service must be in a manner authorized by Fed. R. Bankr. P. 7004.

(bj File a certificate of service at least 7 days prior to confirmation reflecting that the l_ien Stripping Notice was mailed
by both certified maii, return receipt requested and by regular US mail to the holder of the lien on ALL of the
following, with the mailings occurring not later than 31 days prior to the hearing on this Pian:

The holder at the address for notices shown on any proof of claim filed by the holder and in accordance with Fed.
R. Bankr. P. 7004.

Any attorney representing the holder who has filed a request for notice in this bankruptcy case

Third party costs incurred on behalf of the Debtor(s) such as costs of performing a title or lien search or serving the
motion and notices will be borne by the Debtor(s). if such third party costs are advanced by Debtor(s)' counsel. the
Debtor(s) must promptly reimburse such costs without the need for any further application or order.

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Debtoi'i‘s`i: li!iaria E Perez

Case l\io:

18-70326

 

9. Debt incurred {a) within 910 Days Preceding Petition Date and Secured by a Lien on a Nlotor Vehicle or (b) within 1 rear
Preceding Petition Date and Secured by Other Co|laterai for Which FULL PA¥l\llENT, with interest, is Required by

11 U.S.C. § 1325(a)(9) (hanging paragraph). The following table sets forth each class ot creditors holding a ciaim for a debt
incurred within 910 days preceding the petition date and secured by a security interest on a motor vehicle or for a debt incurred
within 1 year preceding the petition date and secured by a security interest on other collateral for which full payment is required

by 11 U.S.C. § 1325(a)(9) {hanging Paragraph).

 

Name of Hoider of Secured C|aim l
Security for Claim

Pian
interest
Rate

C|aim

Monthiy
Payment
Amount

Starting
Month #

Ending
Month #

Totai

 

Gonzalez Fur
liilattress

 

Cure Claim*

 

Monthiy Contract Pmt.

 

Totai Debt Claim

$758.00 5.50%

Pro-Rata

60

$870.46

 

 

Rodriguez Auto Sales
` 2012 l‘-“ord Expiorer (approx. 120,000 mile

 

Cure C|aim*

 

Monthiy Contract Pmt.

 

 

Totai Debt C|aim

 

5.50%

 

 

$10,940.76

Pro-Rata

 

1

 

60

 

$12,563.7'1

 

* in this Pian, a "Cure Claim" is the amount required to cure any existing default A "Totai Debt Claim" is a claim that will be fully paid during the
term of the proposed Pian. As to each claim secured by a security interest the Debtor(s) must propose either (i) a Cure C|aim and a l\/ionth|y
Contract Payment; (ii) a Totai Debt Claim; or {iii} in cases in which there is no Cure Claim, a l\/lonthiy Contractual Payment

A. Payment of the amounts required in this section constitutes a cure of all defaults (existing as of the date this Pian is
conlinned) of the Debtor(s)' obligations to the holder of the claim. if the monthly payment in the proposed Pian is less than
the amount of the adequate protection payment ordered in this case, the actual payment will be the amount of the monthly

adequate protection payment

B. Each claim secured by a security interest is designated to be in a separate class.

. Secured Debts on Which There is No Defauit and to be Paid Directiy by the Debtor(s).

A. The claims held by the following secured creditors will be paid by the Debtor(s) (and not paid through the Trustee) in
accordance with the pre-petition contracts between the Debtor(s) and the holder of the claim secured by a security interest:

 

 

 

 

 

 

Name of Hoideri Totai C|aim Coliaterai Contract Monthiy Date Last
Coiiaterai for C|aim on Petition Value on interest Payment Payment is
Date Petition Date Rate Due

 

 

 

B. Each claim secured by a security interest is designated to be in a separate class

 

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Debtor(s): lillaria E Perez Case l\lo: 18-70326

 

11. Other Secured Claims (Property to be Retaineol). Payments on these claims will be made through the Trustee The
secured claims treated by this Paragraph are in the following tabie.'

 

 

Name of Hoider of C|aim Coliaterai Pian lVlonthly Start. End. Totai
Secured Claimi Value interest Payment Month lillonth
Security for C|aim Rate Amount # #

P&l Escrow* Totai

 

 

 

 

 

 

 

 

 

 

 

 

* Oniy applicable if an escrow for ad valorem taxes or property insurance has been required by the holder of the security interest ll the
collateral is a vehicle or other personal property, the "Escrow" amount should be $0.00.

 

Ai:tion Express
2011 Mazda Mazda 3 (approx. 90,000 miles)
Cure Claim"

i\/lonthly Contract Pmt.
Totai Debt Claim $3,500.00 $4,874.50 5.50% Pro-Rata Pro-Rata 'l 60 $4,019.21

 

 

 

 

 

 

Santander Consumer Usa
2014 GlillC SlERRA
Cure Claim**

Monthiy Contract Pmt. _
Totai Debt Clairn $841.98 $0.00 0.00% Pro-Rata Pro-Rata 1 60 $841.98
** in this Pian, a “Cure Claim" is the amount required to cure any existing default A "`i'otal Debt C|aim is a claim that will be fully paid during the

term of the proposed P|an. As to each claim secured by a security interest the Debtor(s) must propose either (i) a Cure C|aim and a Monthiy

Contract Payment; {li) a Totai Debt Claim; or (iii) in cases in which there is no Cure Claim, a Monthiy Contractual Payment

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A. The amount of secured claim to paid under this Pian is the lesser of the amount listed above as the “Collateral Value" and
the allowed amount of the claim. if a timely proof of claim is filedl the amount of the claim will be determined through the
claims allowance process Otherwise, the amount scheduled in this Pian will control. if the Court orders a different amount
than is shown above as "Coliateral Value," the Pian shall be deemed amended to reflect that Collateral Value without the

requirement of the filing of an amended Pian.

B. The amount listed as “Escrow" will be adjusted to reflect 1/12th of the annual ad valorem taxes and property insurance that
is escrowed. if there is an escrow shortage (for a RESPA Reserve or otherwise), the shortage is included in the Cure Claim

listed above

C. Payment of the amounts required in this section constitutes a cure of all defaults (existing as of the date this Pian is
confirmed) of the Debtor(s)' obligations to the holder of the secured claim. if the monthly payment in the proposed Pian is
less than the amount of the adequate protection payment ordered in this case the actual payment will be the amount of the

monthly adequate protection payment

Dl if the pre-petition loan documents include a provision for an escrow account the actual monthly payment is adjustable only
in accordance with this Paragraph. The Home li/lortgage Payment Procedures must be followed, even though the claims
treated in this Paragraph are not secured by the Debtor(s)' principal residence

E. Each claim secured by a security interest is designated to be in a separate class

12. Modification of Stay and Lien Retention. The automatic stay is modified to allow holders of secured claims to send the
Debtor(s): (i) monthly statements; (ii) escrow statements; (iii) payment change notices; and (iv} such other routine and
customary notices as are sent to borrowers who are not in default The preceding sentence does not authorize the sending of
any (i) demand letters; (ii) demands for payment; (iii) notices of actual or pending default The holder of an Allowed Secured
C|aim that is proposed to be paid under this Pian shall retain its lien until the earlier of (i) the payment of the underlying debt as
determined under non-bankruptcy law; or (ii) the entry of a discharge under 11 U.S.C. § 1328. The holder of a claim secured by
a valid lien may enforce its lien only if the stay is modified under 11 U.S.C. § 362 to allow such enforcement

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Debtor(s): ivtaria E Perez Case l~lo: ’iB-TOSZ’S

 

13. Nlaintenance of Taxes and insurance The Debtor(s) must pay all ad valorem property taxes on property that is proposed to
be retained under this Pian, with payment made in accordance with applicable non-bankruptcy law not later than the last date on
which such taxes may be paid without penalty. The Debtor(s) must maintain insurance on all property that serves to secure a

loan and that is proposed to be retained underthis Pian1 as required by the underlying loan documents 'l'his Paragraph 13

does not apply to the extent that taxes and insurance are escrowed. Any holder of a secured cialm may request in writing, and

the Debtor(s) must promptly provide proof of compliance with this Paragraph. |f the Debtor(s) fall to provide such proof within 30
days of receipt of a written request the holder of the debt secured by a lien on the property may purchase such insurance or pay
such taxes in accordance with its rights under applicable non-bankruptcy law. Unless otherwise ordered by the Court, payment
under this Paragraph may not be undertaken by a transfer of the tax lien on the property.

14. Secured C|aims Satisfied by Transfer of Rea| Property in Satisfaction of Secured Claim.

A. The secured claims set forth in this table will be satisfied by the transfer of title to the real property from the Debtor(s) to the
transferee identified below.

 

Priority Name and Adciress of Hoider of Estimated C|aim of Lien Hoider
Security lnterest

 

 

 

 

 

The Transferee is

 

The value to be credited to the Transferee*s claim secured by the lien is:

 

Value of property

 

Totai amounts owed to atl holders of senior liens

 

 

 

 

Net value to be credited by Transferee

 

D. The address and legal description of the property to be transferred is

 

E. This Paragraph applies only if 100% of the property to be transferred is included in the estate under 11 U.S.C. § 541 (a),
including without limitation community property included in the estate by 11 U.S.C. § 541(a}(2).

F. On or after the 30th day following entry of an order connrming this Plan:

(i) The Debtor(s) shall file as soon as practicable a Notice of Transfer Pursuant to Bankruptcy Pian in the real property
records of the County in which the property is located. A Notice of Transfer Pursuant to Bankruptcy Pian that attaches
a certitied copy of this Pian and a certified copy of the Order confirming this Pian shal|, when filed with a legal
description of the property in the real property records of the County in which the property is located, constitute a
transfer of ownership of the property to the holder of the Secured Claim. `l'he transfer will be effective upon the later to
occur of (i) the filing of the Notice of Transfer Pursuant to Bankruptcy Pian that attaches a codified copy of this Pian and
a certihed copy of the Order confirming the Pian in the real property records of the applicable County; or (ii) if the Order
is stayed pending appeal, the termination of the stay.

(ii) The transferee of the transferred property must credit its claim with the Net Value to be credited by Transferee as
shown in the preceding table (un|ess a different amount is ordered by the Court at the confirmation hearing on this
Pian), not to exceed the balance owed on the claim on the date of the transfer. lf the transfer is to the holder of a junior
lien, the transfer is made subject to all senior liens. The holder of any senior lien may exercise its rights in
accordance with applicable non-bankruptcy law. lf the transfer is to the holder of a senior lien, the transfer is free and

clear of the rights of the holder of any junior lien.*

* The property may not be transferred to the holder of an oversecured senior lien if there is a junior lten.

(iii) The senior liens must be satisfied1 if at all, out of the property in accordance with applicable non-bankruptcy law. The
transfer to the transferee and the relief granted by this Paragraph are in full satisfaction of the Debtor(s)' obligations to
any holder of a security interest that is senior in priority to the security interest held by the transferee. No further

payments by the Debtor{s) are required

 

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Debtor(s): lv'iaria E Perez Case l\io: 18~.79326

 

(lv) T.he automatic stay is modified to allow any holder ofa security interest or other lien on the property to exercise all of
its rights against the property in accordance with applicable non-bankruptcy iaw.

G. Notwithstanding the foregoing Section F:

(i) At its sole election prior to the 301h day following entry of an order confirming this Pian, the transferee may demand in
writing, and the Debtor(s) must execute a special warranty deed transferring the property to the transferee

(ii) At its sole election prior to the 30th day following entry of an order connrming this Plan, the transferee may elect in
writing to foreclose its security interest in the subject property. Any foreclosure must be completed within 90 days
following entry of an order confirming this Pian. This Plan, the order confirming this Pian and a proper election
hereunder constitute a judicial authorization to proceed to foreclose to the extent required under applicable law. if an
election is made under this subsection, the transferee shall be responsible for all loss associated with the property
and all charges, liens, fees, etc. against the property from the 30th day following entry of an order confirming this Plan.

(lii) if a proper demand is made under this Section G, the provisions of Section F(i) are not applicable

H. On and after the date on which the title to the real property (as reflected in the real property records) is not held by the
Debtor(s), and except as otherwise agreed in writing between the Debtor(s) and the holder of the entity to which the property

has been transferred, the Debtor(s) will immediately vacate the property.

l. The third party costs incurred ori behalf of the Debtor(s) to obtain a lien search or title report and to file the Notice and
certihed copies will be borne by the Debtor(s). if such third party costs are advanced by Debtor(s)' counsel, the Debtor(s)

must promptly reimburse such costs.

.l. The Debtor(s) must file a certificate of service at least 7 days prior to Pian confirmation reflecting that a copy of this Pian was
mailed by both certified mail, return receipt requested and by regular US mail to all of the following, with the mailings to have

occurred not later than 31 days prior to the hearing on this Pian to:

(i) Any attorney representing the holder of any security interest against the property who has filed a request for notice in
this bankruptcy case

(ii) The holder of any security interest against the property, in accordance with Fed. R. Bankr. P. 7004 and the address for
notice shown on any proof of claim filed by a holder. The identities of the holders must be identified from the deeds of

trust filed in the real property records.

15. Secured Claims on Which Lien is Avoii:|ed Under 11 U.S.C. § 522(1’}. To the extent that the property described in this
Paragraph is exempted under 11 U.S.C. § 522(b)(1), the following secured claims are avoided pursuant to 11 U.S.C. § 522(f) of

the Bankruptcy Code. The only amount securing any such avoided lien is the lesser of (i) the amount shown as Remaining
Value in this table; and (ii) the amount of the Aliowed C|aim secured by the lien:

 

Description of Name and Value of Amount of Amount Remaining
Property Address of Property Secured Claims C|aimed Value
Secureci Senior to as
Creclitor Secured C|aim Exempt
to be Avoided

 

 

 

 

 

 

16. Special|y C|assified Unsecured Claims. The following unsecured claims will be treated as described beiow:

 

Name of Unsecured Creclitor Treatment and Reason for Special Classification

 

 

 

 

17. Unsecured Claims. Unsecured creditors not entitled to priority and not specially classified in Paragraph 16 shall comprise
a single class of creditors A|iowed claims under this Paragraph 17 shall be paid a pro rata share of the amount remaining after

payment of ali secured, priority, and specially classified unsecured claims.

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Debtor(st ltllarla E Perez Case l\lo: 18-70326

 

18. Executory Contracts. Except as set forth elsewhere in this Pian or in the foilowing sentence all executory contracts are
rejected The following contracts are assumed with the amount and timing of any cure payments as shown:

 

Parties to Executory Contract Amount of Cure Cure to be lillade Directiy by the Debtor(s) in

($0.00 if none) equal Monthiy lnstal|ments of this Amount

with the First installment Due on the 30th Day
Fol|owing Entry of the Confirrnation Order

 

 

 

 

 

19. Asset Sales. The Debtor(s) are authorized--without the need for further Court order (except as provided by Fed. R. Bankr. P.
2014 if applicable)--to sell their exempt property in accordance with this Paragraph. Any such sale shall provide for the full
payment at closing, of all liens on the property that is sold. |f the Debtor(s) request and the Court so determines, an order
confirming this authority may be granted by the Court, ex parte Within 14 days following the closing of any sale of real property
pursuant to this Paragraph, the Debtor(s) must provide to the Trustee a copy of the final closing statement Any-non-exempt
proceeds received from the sale must be paid to the Trustee Unless the sale was privately closed, the closing statement must
be the statement issued by the title company or closing agent handling the sale if the property that was sold was exempted as
a homestead solely under Texas law, any proceeds of the sale that are not reinvested in a qualifying Texas homestead within 6
months of the closing of the sale must be paid to the Trustee within 14 days after the expiration of the 6-month period if only a
portion of the proceeds are reinvested in a qualifying Texas homestead prior to the expiration of the B~month period, the balance
of the proceeds must be paid to the Trustee within 14 days of the closing.

20. Surrender of Collateral during the Pian Period.

A. The Debtor(s) may surrender collateral to a secured creditor after confirmation of the Pian by fling a Surrender Notice in the
form set forth on the Court's website. The Surrender Notice will be effective upon the expiration of 21 days from the date that
it is filed; provided, if an objection to the Surrender Notice is filed within the 21-day period, the Surrender Notice will become
effective only upon entry of a Court order approving the Surrender Notice (the "Effective Date"}. lf a timely objection is filed,
the Trustee will schedule the Surrender Notice for hearing on the next available Chapter 13 panel date On the Effective
Date, the automatic stay under 11 U.S.C. § 362(a) and the co-debtor stay under 11 U.S.C. § 130'i(a) are terminated as to
actions against surrendered property. The automatic stay is not terminated under this Paragraph as to any other action.

B. Bankruptcy Local Rule 6007-1 applies to the surrender of property under this Pian.

Co Other than terminating the co-debtor stay, this Pian does not affect any co-debtor's rights in the collateral or the obligation of
any secured creditor to act with respect to such a co-debtor in compliance with applicable non-bankruptcy law.

D. if payments on debt secured by the surrendered property were made through the Trustee, a Debtor(s)' Proposed Notice of
Pian Payment Adjustment in the form set forth on the Court's website, must be filed as an exhibit to the Surrender Notice |f
the Trustee determines that the Debtoi‘s Proposed Notice of Payment Adjustment is materially inconsistent with the
following Paragraph, the Trustee must file a Trustee's Corrected Notice of Pian Payment Adjustment. Any such Corrected
Notice must be filed within 30 days after the filing of the Debtor(s)' Proposed Notice of Pian Adjustment. The Trustee's
Corrected Notice of Pian Payment Adjustment will be binding unless a party-in-interest files a motion and obtains an order

to the contrary.

E. lf the payment on the debt secured by the surrendered property was made through the Trustee, the Pian payment will be
adjusted The adjusted payment will be effective with the next payment due to the Trustee after the Effective Date. The Pian
payment adjustment will be a reduction equal to (i) the sum of (a) all remaining principal, interest and escrow payments that
are due under this Pian after the Effective Date and payable to the holder of the secured debt; plus (b) any Reserves
required by Paragraph 23 for the payment of ad valorem taxes pertaining to the surrendered property; plus (c) the Posted
Chapter 13 trustee fee applicable to the sum of such remaining payments of principal, interest escrow and reserves;
divided by (ii) the remaining number of monthly payments due under the Pian after the Effective Date No further ad valorem

tax reserves will be established on surrendered propeity.

F. On the Effective Date, no additional direct or Trustee payments will be made on the claim secured by the surrendered
property. The rights cfa secured creditor to a deficiency claim will be determined (i) in accordance with the creditosz
allowed unsecured claim in any timely filed proof of claim; or (ii) by separate Court order.

G. Within 14 days of the Effective Date, the Debtor(s) must file an amended Schedule l and .i.

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Debtor(s): l\/raria E Perez

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Case lv'o: 18-70326

 

21. Payments Under Pian. For the purposes of 1i U.S.C. § 1328(a) ofthe Banl<ruptcy Code, the Debtor(s) will have compieted
ali payments under this Pian by:

/-\.
B.

Paying ali amounts due under Paragraph 4 of this Pian, as adjusted by this Pian; and

Paying all amounts due as direct payments underthis Pian, as adjusted by this Pian.

22. Emergency Savings Fund.

A.

Line 21 of Scheduie .l {the Debtor(s)' expense budget) includes a provision for an emergency savings fund by the Debtor(s).
Deposits into the Emergency Savings Fund will be made to the Trustee. Withdrawais from the Emergency Savings Fund
may be made by application to the Court, utilizing the form application from the Court's website. Withdrawais should be
requested only in an emergency The form application need only be served electronically1 and only to persons subscribing
to the Court's CiV|/ECF electronic noticing system An application will be deemed granted on the 15th day after filing unless
(i) an objection has been fried,' or {ii) the Court has set a hearing on the application The Debtor(s} may request emergency
consideration of any application filed under this Paragraph. The baiance, if any, in the Ernergency Savings Fund will be paid
to the Debtor(s) following (i) the completion of all payments under this Pian; (ii) the dismissal of this case; or (iii) the
conversion of this case to a case under chapter 7, except under those circumstances set forth in 11 U.S.C, § 348(f)(2}.

The deposits into the Emergency Savings Fund will bet

 

Month of First Deposit Nionth of Last Deposit Amount Totai
of this Amount of this Amount

 

 

 

 

 

 

TOTAL

Funds paid to the Trustee will not be credited to the Emergency Savings Fund unless, at the time of receipt by the Trustee,
the Debtor(s) are current on payments provided for in the Pian that are to be distributed to creditors or that are to be reserved
under Paragraph 23. After funds have been credited to the Emergency Savings Fund, they may only be withdrawn in

accordance with this Paragraph.

The Debtor(s) may tile a Notice reliecting any change into the Emergency Savings Fund deposits Unless a party-in-interest
objects within 14 days of the filing of the Notice, the Trustee must file a Notice of Pian Payment Adjustment to reflect the
change.

23, Reserves for Post-Petition Ad Valorem Taxes, Homeowners Association Fees or Other Periodic Post-Petition Obiigations.
(Check One or More);

The Debtor(s) do not invoke this provision.

The Debtor(s) will reserve for post-petition ad valorem taxes. The amount of each monthly reserve is shown on
Scheduie 23*.

The Debtor(s) will reserve for post-petition homeowners' association fees. The amount of each monthly reserve
is shown on Scheduie 23.

The Debtor(s) will reserve for post-petition federal income tax payments The amount of each monthly reserve is
shown on Scheduie 23.

~k~lr

F_'ll:ll:l[:l|§l

The Debtor(s) will reserve for:
The amount of each monthly reserve is shown on Schedule 23.

* A Schedule 23 must be attached unless no Reserves are established

** Reserves may not be established under this Paragraph for the payment of insurance premiums.

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Debtor(s): litaria E Ferez Case l\io: 18-70326

 

A. The Debtor(s)' expense budget shown on Schedule J includes a monthly provision for the payment of the post-petition
Reserves identified above The Debtor(s) must deposit the monthly amount shown on Schedule J for each ot the
designated Reserve items with the Trustee. Not less than 45 days before the date on which payment is due to the taxing
authority, homeowner's association or other person, the Debtor(s) must send a request to the Trustee, on a form
promulgated by the Trustee, requesting a disbursement from the Reserves. Copies of the appropriate invoices or tax
statements must be attached to the request Not later than 45 days after receipt of an appropriate request the Trustee rnust
pay the lesser of (i) the amount shown on the invoices or tax statements; or (ii) the balance in the applicable Reserve. if the
balance in the applicable Reserve is less than the amount due, then the Debtor(s) are responsible for payment of the
balance due on the invoice or tax statements The Chapter 13 Trustee's Fee will apply to any disbursements from the

Reserves.

B. The Debtor(s) must file a Notice reflecting any change of the projected disbursement amount from the applicable Reserve
Uniess a party-in-interest objects within 14 days thereafter, the Trustee must 1file a Notice of Pian Payment Adjustment to

reflect the change

C. Funds paid to the Trustee will not be credited to Reserves unless, at the time of receipt by the Trustee, the Debtor(s) are
current on payments provided for in the Pian that are to be distributed to the holders of claims. if the monthly amount
credited to Reserves is less than the total of ali monthly Reserves shown above, the Trustee will apply the credits to the
Reserves pro rata. After funds have been credited to an applicable Reserve, they may only be withdrawn in accordance with

this Paragraph.

D. if this Pian provides for payment of a "Totai Debt Claim" on real property and no lender-established escrow account is
maintained the Debtor(s) must establish Reserves under this Paragraph for the payment of ad valorem taxes. if the
Debtor(s) subsequently surrender the real property, or if the automatic stay is terminated as to the real property, the amount
of Reserves for taxes on such property will be paid by the Trustee, without further Court Order, to the holder of the claim

secured by the most senior security interest against the real property

E. Upon completion of all payments under this Pian1 the remaining balance on hand in the Reserves wiii be paid to the
Debtor(s).
24. Effect of a Motion to Convert to Chapter T. lf, during the term of this Pian, the Debtor(s) tile a motion to convert this case to a
case under Chapter 7 of the Bankruptcy Code, the motion may be included with a request to distribute to Debtor(s)' counsel the
lesser of (i) the amount agreed between the Debtor(s) and Debtor(s)' counsel; and (ii) 3750.00. if a motion to convert to chapter
7 has been filed and not yet granted by the Court, the Trustee must, within 35 days of the date on which the motion was filed,
distribute any remaining funds (exclusive of Reserves and Emergency Savings Funds) (i) first to pay any unpaid adequate
protection payments due to the holders of secured ciaims; and (ii) thereafter, the amount requested (not to exceed $750.0{)) to
Debtor‘s counsel for post-conversion services. Any amounts so distributed are subject to disgorgement if ordered by the Court.
A motion to convert filed pursuant to this Paragraph 24 must be fried with a proposed order, in the form published on the Court's
website. The Order1 if submitted in accordance with this Paragraph, may be issued ex parte and without notice

25n Presence or Absence of a Proof of Claim.

A. Secured and priority claims provided for in this Pian will be paid without the necessity of the filing of a proof of claim. if this
Pian sets the amount of a monthly payment, monthly payments will be adjusted in accordance with the Court's Home

i\/iortgage Payment Procedures as applied by Paragraphs 8 and 11 of this Pian.

B. Uniess otherwise ordered by the Court (and subject to the claims objection process), the amounts shown on a timely filed
proof ot claim govern as to (i) the amount of that claim; (ii) the amount of any cure amount; and (iii) the amount of any
monthly payment which monthly payment' rs subject to adjustment' rn accordance with the Court‘ s }~iome iviortgage Payment

Procedures as applied by Paragraphs 8 and 11 of this Pian.

C. Regardless of the filing of a proof of ciaim, the valuation in this Pian of the collateral securing a claim controls over any
contrary proof of ciaim.

D. A determination made under this Pian as to a claim does not constitute an order allowing or disallowing a claim against the
estate for purposes of Ruie 3008 or otherwise

E. Uniess the Court orders otherwise no general unsecured claim will be paid unless a proof of claim has been timely filed

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Debtor(s): liflaria E Perez Case i\io: 18-7032@

 

F. 'i'he payment of Debtor(s)' attorneys fees are not governed by this Paragraph.

G. No creditor, before or after completion of the Pian, shall be allowed to collect any payments, costs, fees, or expenses, from
the Debtor(s), the estate, or their property, that are not provided for in this Pian.

26. Discharge and Vesting of Property. The Debtor{s) will be granted a discharge in accordance with ti U.S.C. § 1328_
Property of the estate shall vest in the Debtor(s) upon entry of the discharge order.

27. Effect of Dismissal. if this case is dismissed:
A. Except for Paragraph 27(B), this Pian is no longer effective

Any funds received by the Trustee after entry of the order of dismissal will be paid to the Debtor(s).

28. Pian Not A|tered from Off`rciai Form. By filing this Pian, Debtor(s) and their counsel represent that the Pian is in the official
form authorized by the Court. There are no addenda or other changes made to the ofhcial form, except those contained in

Paragraph 29.

29. Non-standard Provisions.
None.

Except for provisions contained r'n Paragraph 29, any provision not contained in the approved Southern District of Texas Chapter
13 Pian is void. Any provision contained in this Paragra,oh 29 is void unless Paragraph 1 of this Pian indicates that a non-

standard provision has been included in this Pian.

Submitteci by

lsi N|aria E Perez
N|aria E Perez, Debtor

 

Joint Debtor Signature

fsi Wiiliam A Csabi

Wiiliam A Csabi

State Bar No. 05197800
Wiiliam A. Csabi, P.C.

1213 E. Tyier

Hariingen, TX 78550

(956) 412-2727 - Teiephone
(956) 412-2728 - Facsimiie
wcsabi@sbcgiobai.net
Attorney for Debtor(s)

Debtor(s)' Deciaration Pursuant to 28 U.S.C. § 1746
l declare under penalty of perjury that the foregoing statements of value contained in this document are true and correct.

Dated: 1124!2019 fsi lillaria E Perez
N|aria E Perez, Debtor

Dated:

 

Signature of Joint Debtor

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Debtor(s): tillaria E Perez Case !'\io: 18»70326

 

Exhibit "A"
Pian Summary for Proposed Pian
AMENDED 1/24/2019

Disposab|e income and Pian Payments

 

 

 

 

 

 

 

 

 

 

 

    

 

 

(A) (B) (C) {Dl (E) (F) (G) (H) (|)
Projected Projected Pro]ected Payment Beg. Ending Payments for the Savings Fund*** Totai
Scbedule Schedule Disposable Amount |Vlonth Month Beneiit of Creditors Deposits Monthiy
"i" income "J“ income to #* # and for Reserves** Estabiished Under Trustee

(From Expenses { Column A Trustee Pian (Co|umn D Payments
most (From minus minus Co|umn G) (Column D
recently most Coiumn B) muttiplied
ii|ed recently by number -
Schedu|e ti|ed of months
I) Schedule paid)
J) Per Totai Per Totai
Month l\/lonth
$3,415.38 $1,900.38 $1,515.69 $1,208.00 ‘l: 09i18 3: 11i18 $1,208.00 $3,624.00 $0.00 $0.00 $3,624.00
$1,490.00 4: 12i1B 5: D1i19 $1,490.00 $2,980.00 $0.00 $0.00 $2,980.06
$1,515.00 6: 02i19 60: 08123 $1,515.00 $83,325.00 $0.00 $0.00 $83,325.00
Grand Totai ` ` " 339,929.00 ' sas,eza.oo
Less Posted Chapter 13 1
Trustee Fee**** $6’565'08
Net Available $83,363.92

 

 

 

 

 

 

 

 

 

* This is the month in which the first payment is due for this amountl The Debtor(s) must commence payments not later than 30 days'after the
petition date.

** Reserves are established under Paragraph 23 of the Plan.
*`** Savings funds are funds estabiished under Paragraph 22 of the Pian.

**** The Posted Chapter 13 Trustee Fee is based on the percentage listed on the Court's website,

Case 18-70326 Document 72 Filed in TXSB on 01/28/19 Page 16 of 19

Debtor(s): i\iiaria E Perez

Case No:

18-70326

 

Projected Trustee Disbursements to Secured Creditors

 

 

 

 

 

 

2014 GMC Sierra
`i'reated under Pian Section: 7

Name of Hoideri Clairn Pian Monthiy Starting Ending Totai
Description of Co||atera| lnt. Payment Nlonth # Month #
Rate Amount
Santander Consumer Usa $32,452.91

 

Check One: 121 Surrendered [j Transferred |_‘_] Retained (paid direct) [:| Retained (paid through Trustee)*

 

Cure C|aim

 

3002.1(c) Amount

 

Monthiy Payment

 

Totai Debt C|aim

 

Description of Coilateral

|nt.
Rate

 

Payment
Amount

 

Month #

 

Monthiy Retinance Payment g SBE
Name of Holderi Claim Pian Monthiy Starting Ending Totai

Nionth #

 

 

City of Mission
2018 Prop Taxes 2101 Tu|ipan Ave Nlission
Treated under Pian Section: BA

 

 

Check One: [:| Surrendered |:| Transferred |:| Retained (paid direct) `|Z[ Retained (paid through Trustee)*

 

 

 

 

 

 

 

 

Cure C|aim
3002.1(0) Amount
|\ilonth|y Payment
Totai Debt C|aim $360.57 12.00% Pro-Rata 1 60 $490.99
Month| Retinance Pa merit BB
Name of Hoideri C|aim Pian Monthiy Starting Enciing Totai
Dascription of Co||atera| [nt. Payment Month # Month #
Rate Amount

 

 

Hida|go County Taxes
2018 Prop Taxes 2101 Tullpan Ave Mission
Treated under Pian Section: BA

 

 

Cbeck One: {:| Surrendered [] Transferred }:| Retained (paid direct) Retained (paid through Trustee)*

 

Cure C|aim

 

3002.1(0) Amount

 

Monthiy Payment

 

TO’£a| Debt C|aim

$669.15

12.00%

Pro-Rata

60

$911.16

 

Monthiy Re‘Hnance Payment (1§ BB}

 

 

 

 

 

 

 

 

 

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Case Nc; 1&-7032~

j

Debtor(s): iiiiaria E Perez

 

 

Name of Hoideri Ciaim Pian Monthiy Starting En'ding Totai
Description of Coliatera| lnt. Payment Nlonth # Nlonth ii
Rate Amount

 

 

 

 

 

JM LOAN MANAGEMENT SERV|CES, LLC
2101 Tu|ipan Ave Nlission, TX 78572
Treated under Pian Section: SA

Check One: [:| Surrendered [;| Transferred |j Retained (paid direct) [z[ Retained (paid through Trustee)*

 

 

 

 

Cure Claim $4,564.40 0.00% Pro-Rata 1 60 $4,564.40
3002.1(6) Amount
Monthiy Payment y $50,750.00 0.00% $765.85 t 4 $3,063.40

$906.25 5 60 $50,750.00

 

Totai Debt Claim

Monthiy ReHnance Payment g BBZ

 

 

Name of Ho|deri Claim Pian Monthiy Starting finding Totai
Description of Co||ateral lnt. Payment N|onth # Month #

 

 

 

 

Rate Amount

 

 
 
 

 

La Joya independent School District
2018 Prop Taxes 2101 Tu|ipan Ave lV|ission
'i'reated under Pian Section: 8A

Check One: ]'_'] Surrendered |:[ Transferred {'_j Retained (paid direct) Retained (paid through Trustee)*
Cure Claim
3002.1(<:) Amount

 

 

 

 

 

 

       
  

 

Monthiy Payment
Totai Debt Claim $644.49 12.00% Pro-Rata 1 60 $877.57
Monthi _ Reiinance Pa merit __ _ _ _ _ _ _ _ _ _
Name of Ho|deri Claim Pian Monthiy Starting Ending Totai
Description of Col|ateral lnt. Payment Month # Month #
Rate Amount

 

 

 

 

 

Gonzalez Fur
Mattress
Treated under Pian Section: 9

Check One: [;] Surrendered ij Transferred [___| Retained (paid direct) |Z{ Retained (paid through Trustee)*
Cure Ciaim

3002.1(c) Amount

Monthiy Payment
Totai Debt Claim $758.00 5.50% Pro-Rata 1 60 $870.46

l\/lonth|y Reiinance Payment (1i BB)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Debtor(s): iiiiaria E. Perez Case tvo; 18-70326
Name of Ho|derl Claim Pian Nionth|y Starting Ending Totai
Description of Co||ateral int. Payment Month # Month #
Rate Amount

 

 

 

 

 

Rodriguez Auto Sa|es
2012 Ford Expiorer (approx. 120,000 miles)
Treated under Pian Section: 9

Check One: |j Surrendered |:] Transferred ij Retained (paid direct) |z[ Retained (paid through Trustee)*
Cure C|aim
3002.1(c} Amount

 

 

 

 

 

 

 

Monthiy Payment
Totai Debt C|aim $10,940.76 5.50% Pro-Rata 1 60 $12,563.71
Monthiy Retinance Payment il 8Bl
Name of Ho|deri Claim Pian Monthiy Starting Ending Totai
Description of Co||ateral lnt. Payment Month # llilonth #

Rate Amount

 

 

 

 

 

Action Express
2011 Mazda Mazda 3 (approx. 90,000 miles]
Treated under P|an Section: 11

Check One: |:| Surrendered ij Transferred }:| Retained (paid direct) §§ Retained (paid through Trustee}*
Cure Claim
3002.1(c) Amount

 

 

 

 

 

 

 

 

 

 

l\ilonth|y Payment
Totai Debt Claim $3,500.00 5.50% Pro-Rata 1 60 $4,019.21
Monthiy Retinance Payment n SBl
Name of Hoideri C|aim Pian Montth Starting Ending Totai
Description of Co|lateral |nt. Payment Month # Month #
Rate Amount

 

 

Santander Consumer Usa
2014 GN|C S|ERRA
Treated under Pian Section: 11

Check One: ]:[ Surrendered [_:] Transferred ij Retained (paid direct) |Z[ Retained (paid through Trustee)*

Cure Ciaim
3002.1(0) Amount

Monthiy Payment
Totai Debt C|aim $841.98 0.00% Pro-Rata 1 60 $841.98

Monthiy Retinance Payment ij BB!
Totai of Payments to Secured Creditors $78,952.88

* Amounts for Cure Claims, Monthiy Payments, Totai Debt Claims and Monthiy Refinanoe Payments should be listed only if the box for "Retained
(paid through Trustee)" is checked .

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Projected Trustee Disbursements to Priority Creditors

 

 

Name of Hoideri Claim lnt. Monthiy Beg. End Totai
Nature of Priority (Taxes, Attorneys Fees, Rate Payment Month # Nionth #
DSO! etc.) Amount
Wiiliam A. Csabi, P.Cn $4,175.00 0.00% Pro-Rata 1 60 $4,175.00
Attorney Fees
Treated under Pian Section: 6

 

 

 

 

 

 

 

 

 

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Debtoris): iviaria- E Perez Case iv‘o: 18-70326

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Line 4 pius iine 6 plus line 8 plus any direct payments by Debtor(s) under the
Pian in satisfaction of prepetition priority claims)

 

Tota| of Payments to Priority Cr'editors $4,175.00
Projected Trustee Reserve Funds
Reserve Fund Type Totai
(Ad Va|orem Taxes, |nsurance, HOA)
Totai of Reserve Funds $0.00
SUMMAR\’
1 Totai Payments to Trustee $89,929.00
2 Less Totai Savings Fund Deposits $0.00
3 Net Trustee Payments (Line 1 minus line 2) $89,929.00
4 Less Posted Chapter 13 Trustee Fee $6,565.08
5 Less `i’otal Payments by Trustee to Secured Creditors $78,952.88
6 Less Totai Payments by Trustee to Priority Creditors (§§507(a)( 1) - (a)(10)) $4,175.00
7 Less Tota| Reserve Funds $0.00
8 Net Available for General Unsecured Creditors (Line 3 minus lines 4-7) $236.04
Unsecured Creditor Distribution Estimate
9 Estimated Totai Genera| Unsecured C|aims $22,350.00
10 Forecast % Dividend on General Unsecured Claims (Line 8 divided by line 9) 1%
Best interest of Creditors Test

11 Totai Non-Exempt Property $0.00
12 Tota| Distributions to Administrative, Priority and Generai Unsecured Creditors $10,976.12

 

 

